          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:90cr85-2


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                    ORDER
                          )
                          )
ORRIN LAMAR JACKSON.      )
                          )



     THIS MATTER is before the Court on the Defendant’s pro se Rule

36(a) Motion for Correction of Clerical Error and/or Motion for

Reconsideration [Doc. 27], filed February 19, 2009.

     The Defendant, through counsel, previously filed a motion to reduce

his sentence based on Amendment 706, the Crack Cocaine Guideline

Amendment. The Probation Office declined to recommend a reduction due

to the manner in which the sentencing court structured its sentence. In

essence, it was impossible to determine the exact sentence imposed on

the Defendant for the drug charges as opposed to the firearms charges

because the court imposed an aggregate sentence of 1,180 months. Due

to the age of the case, the judgment was unavailable and the appellate



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decision referred merely to a sentence of 98 years and 4 months. United

States v. Jackson, 953 F.2d 640 (4th Cir. 1992).

         While the Government conceded that the Defendant was entitled to a

sentence reduction pursuant to the Crack Cocaine Amendment, it also was

at a loss to explain what portion of the 1,180 month sentence was

attributable to the drug charges. [Doc. 25]. Presuming that each of the 12

convictions pursuant to 18 U.S.C. §924(c) carried a consecutive sentence

of 5 years, the undersigned concluded that the court had sentenced the

Defendant to serve 720 months on the firearms charges and 460 months

on the drug charges. [Doc. 26].

         The Defendant has moved to reconsider and has attached to the

motion portions of his sentencing transcript.1 [Doc. 27]. In fact, the

Defendant’s position is borne out by the transcript. The sentencing court

sentenced Orrin Jackson on Counts 1 and 21 to 400 months imprisonment.

[Doc. 27, at 7]. He then imposed a consecutive sentence of 780 months

for the 12 §924(c) convictions, noting that the total sentence was 1,180

months imprisonment. [Id., at 8].

         The Court therefore finds that the motion to reconsider should be



         1
             Although the document is not authenticated, the Government has not objected
to it.


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granted.

     IT IS, THEREFORE, ORDERED that the Defendant’s pro se Rule

36(a) Motion for Correction of Clerical Error [Doc. 27] is hereby DENIED;

     IT IS FURTHER ORDERED that the Defendant’s pro se Motion for

Reconsideration [Doc. 27] is hereby GRANTED and the Defendant’s

previously imposed sentence of 400 months for Counts 1 and 21 is hereby

reduced to 275 months and the Defendant’s previously imposed sentence

for firearms convictions remains 780 months with the Defendant’s total

sentence being adjusted from 1,180 months to 1,055 months with all other

terms and provisions of the Order entered February 10, 2009 and the

Judgment entered November 26, 1990 to remain the same. A corrected

Order pursuant to 18 USC §3582(c)(2) is being entered

contemporaneously herewith.

                                     Signed: April 6, 2009




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